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                           FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

         In re: FACEBOOK, INC.                       No. 22-15077
         SECURITIES LITIGATION,
         ______________________________             D.C. No. 5:18-cv-
                                                       01725-EJD
         AMALGAMATED BANK, Lead
         Plaintiff; PUBLIC EMPLOYEES’
         RETIREMENT SYSTEM OF                          OPINION
         MISSISSIPPI; JAMES KACOURIS,
         individually and on behalf of all others
         similarly situated,

                        Plaintiffs-Appellants,

          v.

         FACEBOOK, INC.; MARK
         ZUCKERBERG; SHERYL
         SANDBERG; DAVID M. WEHNER,

                        Defendants-Appellees.

                Appeal from the United States District Court
                  for the Northern District of California
                Edward J. Davila, District Judge, Presiding

                   Argued and Submitted February 8, 2023
                         San Francisco, California
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                              Filed October 18, 2023

         Before: M. Margaret McKeown, Jay S. Bybee, and Patrick
                       J. Bumatay, Circuit Judges.

                           Opinion by Judge McKeown;
             Partial Concurrence and Partial Dissent by Judge Bumatay


                                   SUMMARY *


                        Securities Exchange Act of 1934

             The panel affirmed in part and reversed in part the
         district court’s judgment dismissing under Fed. R. Civ. P.
         12(b)(6) for failure to state a claim a Third Amended
         Complaint in which purchasers of Facebook common stock
         between February 3, 2017, and July 25, 2018, (“the
         shareholders”) allege that Facebook and its executives
         violated Sections 10(b), 20(a), and 20A of the Securities
         Exchange Act of 1934 and Rule 10b-5 of the Exchange Act’s
         implementing regulations by making materially misleading
         statements and omissions regarding (1) the risk of improper
         access to Facebook users’ data, (2) Facebook’s internal
         investigation into British political consulting firm
         Cambridge Analytica, and (3) the control Facebook users
         have over their data.
            In March 2018, news broke that Cambridge Analytica
         improperly harvested personal data from millions of

         *
          This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         unwitting Facebook users and retained copies of the data
         beyond Facebook’s control. In the months that followed, the
         public learned that Facebook had known of Cambridge
         Analytica’s misconduct for over two years and failed to
         inform affected users, and that Facebook surreptitiously
         allowed certain whitelisted third-party apps to access users’
         Facebook friend data without the users’ friends’
         consent. Facebook and its executives made various
         statements before and after the news announcements
         assuring users that they fully controlled their data on
         Facebook and that no third party would access the data
         without their consent. In the wake of the Cambridge
         Analytica and whitelisting scandals, Facebook’s stock price
         suffered two significant drops totaling more than $200
         billion in market capitalization.
             The panel considered whether, under the heightened
         standard of the Private Securities Litigation Reform Act, the
         shareholders (1) adequately pleaded falsity as to the
         challenged risk statements, (2) adequately pleaded scienter
         as to the Cambridge Analytica investigation statements, and
         (3) adequately pleaded loss causation as to the user control
         statements.
             First, the panel held that the shareholders adequately
         pleaded falsity as to the statements warning that misuse of
         Facebook users’ data could harm Facebook’s business,
         reputation, and competitive position and the district court
         erred by dismissing the complaint as to those
         statements. The panel wrote that, as in In re Alphabet Sec.
         Litig., 1 F.4th 687 (9th Cir. 2021), the shareholders here
         adequately pleaded falsity as to statements in a 2016 Form
         10-K filing with the SEC in which Facebook represented the
         risk of third parties improperly accessing and using
         Facebook users’ data as purely hypothetical. The panel held
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         that the district court correctly dismissed the challenged
         statements regarding the risk of security breaches and the
         risk of the public not perceiving Facebook’s products to be
         “useful, reliable, and trustworthy”; those statements do not
         relate to the misuse of Facebook user data by Cambridge
         Analytica, and the shareholders do not allege that those risks
         had materialized at the time of the 2016 10-K such that they
         were false or materially misleading. The panel left to the
         district court on remand whether the shareholders can satisfy
         the other elements of the claims with respect to risk
         statements.
             Second, the panel agreed with the district court that the
         shareholders failed to plead scienter as to Cambridge
         Analytica investigation statements, including ones made by
         a Facebook spokesperson to journalists in March 2017 that
         Facebook’s internal investigation into Cambridge Analytica
         had “not uncovered anything that suggest[ed] wrongdoing”
         related to Cambridge Analytica’s work on the Brexit and
         Trump campaigns. The panel wrote that the shareholders
         pleaded only that the spokesperson should have known that
         Facebook’s investigation had uncovered misconduct, not
         that the spokesperson actually knew of any misconduct or
         even that there was a strong inference of an “intent to
         deceive, manipulate, or defraud.”
             Third, as to Facebook’s user control statements:
             The panel affirmed the dismissal as to statements related
         to Facebook’s goals of transparency and control—
         statements that were not false when they were made. The
         panel also affirmed the dismissal of a standalone claim
         relating to the June 2018 whitelisting revelation, given that
         the revelation was unaccompanied by a stock price drop.
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             The panel held that the shareholders adequately pleaded
         loss causation as to Facebook’s statements—made before
         the March 16, 2018, stock price drop—assuring users that
         they control their content and information on the
         platform. The panel wrote that the shareholders adequately
         pleaded that the March 2018 revelation about Cambridge
         Analytica was the first time Facebook investors were alerted
         that Facebook users did not have complete control over their
         own data, and also adequately pleaded that Facebook did not
         make public statements about the Cambridge Analytica issue
         between 2015 and 2018.
             The panel held that the shareholders adequately pleaded
         that the Cambridge Analytica and whitelisting revelations,
         not any other factor, caused the July 2018 stock drop. The
         panel therefore reversed the district court’s dismissal of
         claims as to Facebook’s statements regarding data control
         that predated the June 3, 2018, whitelisting revelation.
            The panel remanded for further proceedings.
             Judge Bumatay concurred in part and dissented in
         part. He joined the majority in holding that the shareholders
         failed to sufficiently allege a falsity in Facebook’s
         Cambridge Analytica investigation statements. He also
         joined the majority in holding that the shareholders did
         allege a falsity and loss from the user control statements—
         but only as those statements relate to Facebook’s practice of
         “whitelisting.” He disagreed with the majority on two
         fundamental points. In his view, the shareholders failed to
         sufficiently allege that Facebook’s risk factor statements in
         its public filings were fraudulent, and didn’t show that
         Facebook’s user control statements were false based on the
         Cambridge Analytica revelations.
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                                      OPINION

         McKEOWN, Circuit Judge:

              In March 2018, news broke that Cambridge Analytica, a
         British political consulting firm, improperly harvested
         personal data from millions of unwitting Facebook users and
         retained copies of the data beyond Facebook’s control. In
         the months that followed, the public learned that Facebook
         had known of Cambridge Analytica’s misconduct for over
         two years and failed to inform affected users, and that
         Facebook surreptitiously allowed certain whitelisted third-
         party apps to access users’ Facebook friend data without the
         users’ friends’ consent. Facebook and its executives made
         various statements before and after the news announcements
         assuring users that they fully controlled their data on
         Facebook and that no third party would access the data
         without their consent. In the wake of the Cambridge
         Analytica and whitelisting scandals, Facebook’s stock price
         suffered two significant drops totaling more than $200
         billion in market capitalization. 1
             Appellants, collectively “the shareholders,” purchased
         shares of Facebook common stock between February 3,
         2017, and July 25, 2018. Soon after the first stock drop in
         March 2018, they filed a securities fraud action against
         Facebook and three of its executives: Mark Zuckerberg,
         Facebook’s chief executive officer, Sheryl Sandberg,
         Facebook’s then-chief operating officer, and David Wehner,


         1
           In late 2021, the parent company Facebook changed its name to Meta
         Platforms, Inc. Because the events in this case occurred before 2021, we
         refer to Facebook and its former parent company, Facebook, Inc., simply
         as Facebook.
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         Facebook’s chief financial officer. The shareholders allege
         that Facebook and the executives violated Sections 10(b),
         20(a), and 20A of the Securities Exchange Act of 1934 and
         Rule 10b-5 of the Exchange Act’s implementing regulations
         by making materially misleading statements and omissions
         regarding the risk of improper access to Facebook users’
         data, Facebook’s internal investigation into Cambridge
         Analytica, and the control Facebook users have over their
         data. Although the shareholders made multiple claims in
         their Third Amended Complaint, only these three categories
         of claims are the subject of this appeal.
             This case calls on us to consider whether, under the
         heightened standard of the Private Securities Litigation
         Reform Act (“PSLRA”), the shareholders adequately
         pleaded falsity as to the challenged risk statements,
         adequately pleaded scienter as to the Cambridge Analytica
         investigation statements, and adequately pleaded loss
         causation as to the user control statements. We affirm in part
         and reverse in part. 2
                                 I. BACKGROUND
            The Third Amended Complaint clocked in at 285 pages.
         Although impressive in terms of magnitude, we nonetheless
         examine the allegations individually and holistically, not by
         weight or volume. 3



         2
           For ease of reference, we use the categories laid out in the Third
         Amended Complaint. On appeal, the shareholders challenge the district
         court’s dismissal of the statements in ¶¶ 501–05, 507–14, 519, 525, 530,
         533, and 537–38 of the Third Amended Complaint.
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          These facts are based on the allegations in the Third Amended
         Complaint and may not reflect Facebook’s current practices.
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             Facebook, with more than 1.3 billion daily users at the
         inception of this case, is the world’s largest social media
         platform. On Facebook, users share personal content, “like”
         and comment on others’ shared content, play games
         designed by third-party app developers, and more. Facebook
         collects data from its users, including the types of content
         they access, the devices they use to access Facebook, their
         payment information, and their location. The collected data
         is used to individualize the content a user sees on Facebook.
         For example, Facebook may suggest local events to a user
         and tailor the advertisements a user sees. Additionally, a
         third-party app or website integrated onto the Facebook
         platform may access user information when the user engages
         with its services on the platform. For example, a Facebook
         user may play an online game added to the Facebook
         platform by a third-party developer.            According to
         Facebook’s terms, the game developer could then access the
         user’s age range, location, language preference, list of
         friends, and other information the user shared with them.
             This is not the first time Facebook has found itself in
         legal hot water over its data sharing practices. In 2012,
         Facebook settled charges with the Federal Trade
         Commission (“FTC”) that it deceived users by representing
         that their personal data was private but allowing the data to
         be shared, including with third-party apps. Facebook
         entered a twenty-year consent decree as part of the
         settlement, agreeing not to misrepresent the extent to which
         Facebook users could control the privacy of their own data.
         In 2019, the FTC imposed a “record-breaking $5 billion
         penalty” on Facebook for violating the consent decree by
         “deceiving users about their ability to control the privacy of
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         their personal information.” 4 Facebook users have also sued
         the company alleging that Facebook is dishonest about its
         privacy practices. See, e.g., In re Facebook, Inc. Internet
         Tracking Litig., 956 F.3d 589 (9th Cir. 2020); Campbell v.
         Facebook, Inc., 951 F.3d 1106 (9th Cir. 2020).
             In 2014, Zuckerberg announced publicly that Facebook
         would no longer allow third parties to access and collect data
         from users’ friends, noting that Facebook users were
         surprised to learn that their Facebook friends could share
         their data with a third party without their consent. He
         explained that Facebook users had grown skeptical that their
         data was safe on the platform, and that Facebook was doing
         everything it could “to put people first and give people the
         tools they need” to trust that Facebook would keep their data
         safe. That same year, however, Zuckerberg and Sandberg
         created a “reciprocity” system in which certain third-party
         apps that provided “reciprocal value to Facebook” could be
         “whitelisted,” meaning that those apps were exempt from the
         ban on third-party data access and collection. The
         whitelisting practice continued until mid-2018.
             In September 2015, Facebook employees noticed that
         Cambridge Analytica was “receiving vast amounts of
         Facebook user data.” Facebook’s political team described
         Cambridge Analytica as a “sketchy” firm that had
         “penetrated” Facebook’s market and requested an
         investigation into what Cambridge Analytica was doing with
         the data. The platform policies team concluded that it was
         unlikely Cambridge Analytica could use Facebook users’

         4
           Press Release, Fed. Trade Comm’n, FTC Imposes $5 Billion Penalty
         and Sweeping New Privacy Restrictions on Facebook (July 24, 2019),
         https://www.ftc.gov/news-events/news/press-releases/2019/07/ftc-
         imposes-5-billion-penalty-sweeping-new-privacy-restrictions-facebook.
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         data for political purposes without violating Facebook’s
         policies. In November 2015, Facebook paid Aleksandr
         Kogan, a Cambridge University academic who helped
         Cambridge Analytica obtain user data from Facebook, to
         give an internal presentation on the lessons he learned from
         collecting and working with the Facebook data.
             Trouble for Facebook began in December 2015, when
         The Guardian reported that Cambridge Analytica had
         created a database of information about American voters by
         harvesting their Facebook data. 5 The harvested data
         originated from a personality quiz integrated onto Facebook
         by Kogan. When Facebook users completed the quiz, Kogan
         gained access to their data as well as data from their
         Facebook friends who had not taken the quiz, including each
         user’s name, gender, location, birthdate, “likes,” and list of
         Facebook friends. Facebook’s app review team initially
         rejected the personality quiz because it collected more user
         data than necessary to operate, but the quiz nonetheless
         became available to Facebook users. Although only about
         250,000 Facebook users took the personality quiz, Kogan
         harvested data from over thirty million users, most of whom
         did not consent to the data collection.
             Kogan used the Facebook “likes” collected from the quiz
         to train an algorithm that assigned personality scores to
         Facebook users, including users who had not taken the quiz.
         The information was saved in a database that classified
         American voters by scoring them on five personality traits:
         “openness to experience, conscientiousness, extraversion,

         5
           See Harry Davies, Ted Cruz Using Firm that Harvested Data on
         Millions of Unwitting Facebook Users, Guardian (Dec. 11, 2015),
         https://www.theguardian.com/us-news/2015/dec/11/senator-ted-cruz-
         president-campaign-facebook-user-data.
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         agreeableness, and neuroticism (the ‘OCEAN scale’).”
         According to The Guardian, Cambridge Analytica used the
         harvested OCEAN scale data to help Ted Cruz’s presidential
         campaign “gain an edge over Donald Trump” in the
         Republican Party primaries.
             In response to the Guardian article, a Facebook
         spokesperson stated that the company was “carefully
         investigating” the situation, that misusing user data was a
         violation of Facebook’s policies, and that the company
         would “take swift action” against third parties found to have
         misused Facebook users’ data. In a private email exchange
         in December 2015, a Facebook executive told a Cambridge
         Analytica executive that Cambridge Analytica violated
         Facebook’s policies and terms by using data that Kogan
         “improperly derived” from Facebook. Cambridge Analytica
         agreed in January 2016 to delete the personality score data
         harvested from Facebook.
             Notwithstanding Cambridge Analytica’s assurance that
         it would delete the data, Facebook continued to investigate
         the data usage. In June 2016, Facebook negotiated a
         confidential settlement with Kogan, who certified that he
         had deleted the data in his possession derived from Facebook
         “likes.” Kogan also provided Facebook with the identity of
         every entity with which he had shared raw Facebook user
         data. In doing so, Kogan revealed that he had shared
         derivative and raw data from Facebook users—not just the
         personality score data—with Cambridge Analytica’s chief
         executive, Alexander Nix, and that the data was still being
         used in violation of Facebook’s stated policies. Facebook
         asked Nix to certify that all data harvested from the
         Facebook personality quiz was deleted, but Nix refused to
         do so. In October 2016, The Washington Post reported that
         Cambridge Analytica continued to use data based on the
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         OCEAN scale to benefit the Trump presidential campaign. 6
         The article did not say explicitly that the social-media data
         came from Facebook, but the use of the OCEAN scale
         suggested that Cambridge Analytica may have been using
         the data originally harvested from Kogan’s personality quiz
         on Facebook.
             1. Facebook’s Public Filings
             Despite the ongoing developments regarding Cambridge
         Analytica, Facebook represented in its 2016 Form 10-K,
         filed with the Securities Exchange Commission (“SEC”) in
         February 2017, that third-party misuse of Facebook users’
         personal data was a purely hypothetical risk that could harm
         the company if it materialized. For example, the 10-K stated
         that “[a]ny failure to prevent or mitigate . . . improper access
         to or disclosure of our data or user data . . . could result in
         the loss or misuse of such data, which could harm
         [Facebook’s] business and reputation and diminish our
         competitive position.” The statements about the risks of
         improper access or disclosure appeared in the “Risk Factors”
         section of the 10-K, in a subsection that also discussed the
         risks of security breaches such as cyberattacks, hacking, and
         phishing that could result in Facebook user data falling into
         the wrong hands.
             2. Continued Press about Cambridge Analytica
            In March 2017, The Guardian published another article
         about Cambridge Analytica’s political activity. The article

         6
           Michael Kranish, Trump’s Plan for a Comeback Includes Building a
         ‘Psychographic’ Profile of Every Voter, Wash. Post (Oct. 27, 2016),
         https://www.washingtonpost.com/politics/trumps-plan-for-a-comeback-
         includes-building-a-psychographic-profile-of-every-
         voter/2016/10/27/9064a706-9611-11e6-9b7c-
         57290af48a49_story.html.
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         discussed how Cambridge Analytica used data derived from
         Facebook “likes” to train algorithms and quoted a
         Cambridge Analytica spokesperson’s denial that the firm
         had access to Facebook “likes.” 7 The article also quoted a
         Facebook spokesperson’s statement that Facebook’s
         investigation into Cambridge Analytica had not yet
         uncovered any misconduct related to the firm’s work on
         political matters, specifically the Trump presidential
         campaign or the Brexit Leave campaign. A Facebook
         spokesperson made similar comments to journalists later that
         month. 8 Throughout 2017 and early 2018, Facebook and its
         executives assured Facebook users that “no one is going to
         get your data that shouldn’t have it,” that Facebook and its
         apps had “long been focused on giving people transparency
         and control,” and more.
             On March 12, 2018, The New York Times and The
         Guardian contacted Facebook for comment on joint articles
         the outlets planned to publish about Cambridge Analytica’s
         misuse of Facebook users’ data. The articles would report
         that Cambridge Analytica had not actually deleted the
         improperly collected Facebook user data from 2015. Before

         7
          Jamie Doward, Carole Cadwalladr & Alice Gibbs, Watchdog to Launch
         Inquiry into Misuse of Data in Politics, Guardian (Mar. 4, 2017),
         https://www.theguardian.com/technology/2017/mar/04/cambridge-
         analytics-data-brexit-trump.
         8
           Tim Sculthorpe, Privacy Watchdog Launces a Probe into How the
         Leave Campaigns Used Voters’ Personal Data to Win Brexit, Daily Mail
         (Mar.      5,     2017),      https://www.dailymail.co.uk/news/article-
         4283102/amp/Privacy-watchdog-launches-probe-Leave-use-data.html;
         Mattathias Schwartz, Facebook Failed to Protect 30 Million Users From
         Having Their Data Harvested By Trump Campaign Affiliate, Intercept
         (Mar. 30, 2017), https://theintercept.com/2017/03/30/facebook-failed-
         to-protect-30-million-users-from-having-their-data-harvested-by-
         trump-campaign-affiliate/.
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         the articles went to print, Facebook announced on its
         investor relations website that it was suspending Cambridge
         Analytica for violating its policies by sharing Facebook
         users’ data without the users’ consent and for failing to
         delete the improperly collected data. Facebook explained
         that, in 2015, it had demanded certification that Cambridge
         Analytica and Kogan had destroyed the harvested user data,
         but that Facebook had just learned that not all the data was
         deleted. Soon after, The New York Times reported that
         Cambridge Analytica’s use of Facebook users’ data was
         “one of the largest data leaks in the social network’s
         history.” 9 The article took the position that most people
         whose data was harvested had not consented to the
         collection, that Cambridge Analytica had used the data to
         benefit the Trump presidential campaign in 2016, and that
         “copies of the data still remain[ed] beyond Facebook’s
         control.” 10
             Other media outlets and government officials sprang into
         action. Political figures in the United States and Europe
         called for investigation into the Cambridge Analytica
         privacy scandal. Reporters wrote that Facebook knew about
         the data breach for years and failed to disclose it to the
         millions of affected users. In particular, CNN observed that
         “[n]o one ha[d] provided an adequate explanation for why
         Facebook did not disclose Kogan’s violation to the more
         than 50 million users who were affected when the company


         9
           Matthew Rosenberg, Nicholas Confessore & Carole Cadwalladr, How
         Trump Consultants Exploited the Facebook Data of Millions, N.Y.
         Times                (Mar.                17,                2018),
         https://www.nytimes.com/2018/03/17/us/politics/cambridge-analytica-
         trump-campaign.html.
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              Id.
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         first learned about it in 2015.” 11 That same day, an article in
         Seeking Alpha warned that “[i]f Cambridge Analytica was
         able to acquire information on tens of millions of Facebook
         users so quickly and easily, and then keep the information
         for years without Facebook suspecting otherwise, then that
         shows a serious flaw in Facebook’s ability to keep exclusive
         control over its information.” 12
              3. Facebook’s Stock Price Drop and Low Revenue and
              Profit Growth
             The price of Facebook’s stock declined significantly in
         the week that followed the Cambridge Analytica revelations.
         On March 19, 2018—the first trading day after the news
         broke—Facebook shares fell almost 7%. The next day,
         Facebook shares fell an additional 2.5%. After one week,
         Facebook’s stock price had dropped nearly 18% from the
         price before the news about Cambridge Analytica was
         published, reflecting a loss of more than $100 billion in
         market capitalization. At this juncture, the shareholders filed
         their first securities fraud complaint against Facebook.
             In the aftermath, Facebook reiterated its statements that
         users have privacy and control over their personal data on
         the platform. At an April 2018 press conference, Zuckerberg
         stated that “you have control over everything you put on the
         service.” Later that month, Zuckerberg issued a public post

         11
            Dylan Byers, Facebook Is Facing an Existential Crisis, CNN (Mar.
         19,                                                          2018),
         https://money.cnn.com/2018/03/19/technology/business/facebook-data-
         privacy-crisis/index.html.
         12
             Erich Reimer, The Cambridge Analytica Mishap Is Serious for
         Facebook,         Seeking       Alpha      (Mar.     19,      2018),
         https://seekingalpha.com/article/4157578-cambridge-analytica-mishap-
         is-serious-for-facebook.
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         on Facebook, saying: “You’ve been hearing a lot about
         Facebook lately and how your data is being used. While this
         information can sometimes be confusing and technical, it’s
         important to know that you are in control of your Facebook,
         what you see, what you share, and what people see about
         you.” Zuckerberg also testified before the United States
         Senate that users have control over both what they share on
         Facebook and their personal data connected to
         advertisements on the platform.
             On June 3, 2018, more news emerged about Facebook’s
         privacy practices. The New York Times reported that
         Facebook had continued sharing the data of users and their
         Facebook friends with dozens of whitelisted third parties like
         Apple, Microsoft, and Samsung without the users’ express
         consent. 13 The article reported that Facebook’s whitelisting
         policy violated the company’s FTC consent decree and
         contradicted Zuckerberg’s 2014 announcement that
         Facebook’s third-party data sharing practice had been
         shuttered. 14 An FTC investigator testified before the
         Parliament of the United Kingdom that, for nearly a decade,
         the whitelisted apps were allowed to completely override
         Facebook users’ privacy settings. Multiple news outlets
         subsequently reported that Facebook shared its users’ data
         with foreign entities “believed to be national security risks”
         without the users’ knowledge.
            Finally, on July 25, 2018, Facebook announced
         unexpectedly low revenue growth, profitability, and user
         growth in its Q2 earnings call. Facebook stated that the

         13
            Gabriel J.X. Dance, Nicholas Confessore & Michael Laforgia,
         Facebook Gave Device Makers Deep Access to Data on Users and
         Friends, N.Y. Times (June 3, 2018), https://nyti.ms/3aFIMAI.
         14
              Id.
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         disappointing revenue growth occurred because it was
         “putting privacy first” as well as implementing the European
         Union’s General Data Protection Regulation (“GDPR”).
         Zuckerberg reported that the GDPR rollout also resulted in a
         decline in monthly Facebook users across Europe. The day
         after the earnings call, Facebook’s stock price dropped
         nearly 19%. Analysts and investors attributed the stock drop
         to the company’s GDPR implementation, the requisite
         increased security and privacy required of tech companies,
         and the Cambridge Analytica and whitelisting scandals.
              4. Filing of Amended Complaints
             The revelation of the Cambridge Analytica and
         whitelisting scandals and the two Facebook stock price drops
         precipitated an amended filing by the shareholders in
         October 2018. The shareholders amended the complaint
         again in November 2019 (Second Amended Complaint) and
         October 2020 (Third Amended Complaint). They brought
         claims against Facebook, Zuckerberg, Sandberg, and
         Wehner under Sections 10(b), 20(a), and 20A of the
         Securities Exchange Act of 1934 and Rule 10b-5 of the
         Exchange Act’s implementing regulations.                 The
         shareholders allege that Facebook, through the executive
         defendants or a company spokesperson, made several false
         or materially misleading statements between February 3,
         2017, and July 25, 2018, “the class period.” The challenged
         statements fall into three categories: (1) statements in
         Facebook’s 2016 Form 10-K regarding the risk of improper
         third-party access to and disclosure of Facebook users’ data;
         (2) statements regarding Facebook’s investigation into
         Cambridge Analytica’s 2015 misconduct; and (3) statements
         regarding the control Facebook users have over their data on
         the platform.
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             The district court dismissed the shareholders’ First
         Amended Complaint and Second Amended Complaint
         without prejudice under Federal Rule of Civil Procedure
         12(b)(6), giving the shareholders leave to amend both times.
         After determining that the Third Amended Complaint failed
         to remedy the deficiencies of the first two amended filings,
         the district court dismissed the shareholders’ claims without
         leave to amend.
                                 II. ANALYSIS
             Although the scope of claims under Section 10(b) of the
         Exchange Act and Rule 10b-5 of the Exchange Act’s
         implementing regulations is well understood and well-tread
         in the Ninth Circuit, these principles bear repeating so that
         our analysis is viewed in context.
             Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b),
         prohibits “manipulative or deceptive” practices in
         connection with the purchase or sale of a security. See In re
         Alphabet Sec. Litig., 1 F.4th 687, 699 (9th Cir. 2021). Rule
         10b-5 of the Exchange Act’s implementing regulations is
         coextensive with Section 10(b). S.E.C. v. Zandford, 535
         U.S. 813, 816 n.1 (2002). The Rule prohibits making “any
         untrue statement of a material fact” or omitting material facts
         “necessary in order to make the statements made, in the light
         of the circumstances under which they were made, not
         misleading.” Glazer Cap. Mgmt., L.P. v. Forescout Techs.,
         Inc. (Glazer II), 63 F.4th 747, 764 (9th Cir. 2023) (quoting
         17 C.F.R. § 240.10b-5(b)). To state a claim under Section
         10(b) and Rule 10b-5, “a plaintiff must allege: (1) a material
         misrepresentation or omission by the defendant (‘falsity’);
         (2) scienter; (3) a connection between the misrepresentation
         or omission and the purchase or sale of a security; (4)
         reliance upon the misrepresentation or omission; (5)
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         economic loss; and (6) loss causation.” Id. (internal
         quotation marks omitted) (quoting In re NVIDIA Corp. Sec.
         Litig., 768 F.3d 1046, 1052 (9th Cir. 2014)). Claims under
         Sections 20(a) and 20A of the Exchange Act are derivative
         “and therefore require an independent violation of the
         Exchange Act,” so the shareholders must successfully plead
         a Section 10(b) claim to succeed on their claims under
         Sections 20(a) and 20A. See Johnson v. Aljian, 490 F.3d
         778, 781 (9th Cir. 2007); see also Glazer II, 63 F.4th at 765.
             Complaints alleging securities fraud are also subject to
         heightened pleading requirements under the Private
         Securities Litigation Reform Act (“PSLRA”) and Rule 9(b).
         Glazer II, 63 F.4th at 765. The PSLRA requires that
         complaints alleging falsity “specify each statement alleged
         to have been misleading, the reason or reasons why the
         statement is misleading, and, if an allegation regarding the
         statement or omission is made on information and belief, the
         complaint shall state with particularity all facts on which that
         belief is formed.” Id. (quoting 15 U.S.C. § 78u-4(b)(1)). To
         plead scienter under the PSLRA, “the complaint must ‘state
         with particularity facts giving rise to a strong inference that
         the defendant acted with the required state of mind.’” Id. at
         766 (quoting 15 U.S.C. § 78u-4(b)(2)(A)). When evaluating
         “whether the strong inference standard is met,” the court first
         “determines whether any one of the plaintiff’s allegations is
         alone sufficient to give rise to a strong inference of scienter.”
         Id. If no individual allegation is sufficient, the court
         “conducts a ‘holistic’ review to determine whether the
         allegations combine to give rise to a strong inference of
         scienter.” Id. (quoting Zucco Partners, LLC v. Digimarc
         Corp., 552 F.3d 981, 992 (9th Cir. 2009)). Rule 9(b)
         similarly requires plaintiffs to “state with particularity the
         circumstances constituting fraud.” Id. at 765 (quoting Fed.
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         R. Civ. P. 9(b)). Fraud allegations under Rule 9(b) “must be
         ‘specific enough to give defendants notice of the particular
         misconduct which is alleged to constitute the fraud charged
         so that they can defend against the charge and not just deny
         that they have done anything wrong.’” Id. (quoting Bly-
         Magee v. California, 236 F.3d 1014, 1019 (9th Cir. 2001)).
              We review de novo the dismissal of a complaint for
         failure to state a claim, accepting the factual allegations as
         true and viewing the facts “in the light most favorable” to the
         shareholders. Id. at 763. In addition to the pleading
         requirements of the PSLRA and Rule 9(b), Rule 8(a)
         requires that a complaint “contain sufficient factual matter,
         accepted as true, to ‘state a claim to relief that is plausible on
         its face.’” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678
         (2009)). The factual allegations in the complaint must
         “allow[] the court to draw the reasonable inference that the
         defendant is liable for the misconduct alleged.” Id. (quoting
         Iqbal, 556 U.S. at 678).
             A. Risk Statements
              The essence of the challenged risk statements is that,
         although Facebook knew Cambridge Analytica had
         improperly accessed and used Facebook users’ data,
         Facebook represented in its 2016 Form 10-K that only the
         hypothetical risk of improper third-party misuse of
         Facebook users’ data could harm Facebook’s business,
         reputation, and competitive position.           For example,
         Facebook’s 2016 10-K warned that the “failure to prevent or
         mitigate security breaches and improper access to or
         disclosure of our data or user data could result in the loss or
         misuse of such data” and that if “third parties or developers
         fail to adopt or adhere to adequate data security practices . . .
         our data or our users’ data may be improperly accessed, used,
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         or disclosed.”       Additionally, two of the challenged
         statements warn that Facebook cannot provide “absolute
         [data] security” and that Facebook’s business will suffer if
         the public does not perceive Facebook’s products to be
         “useful, reliable, and trustworthy.”
             The district court held that the shareholders failed to
         plead falsity as to the risk statements, but its holding
         predated our decision in In re Alphabet. Without the benefit
         of our reasoning in In re Alphabet, the district court held that
         the risk statements were not actionably false because
         Cambridge Analytica’s misconduct was public knowledge at
         the time the statements were made and because, while the
         10-K warned of risks of harm to Facebook’s business,
         reputation, and competitive position, the shareholders failed
         to allege that Cambridge Analytica’s misconduct was
         causing such harm when the statements were made. This
         approach overlooks the reality of what Facebook knew.
             In the securities fraud context, statements and omissions
         are actionably false or misleading if they “directly contradict
         what the defendant knew at that time,” Khoja v. Orexigen
         Therapeutics, Inc., 899 F.3d 988, 1008 (9th Cir. 2018), or
         “create an impression of a state of affairs that differs in a
         material way from the one that actually exists,” Brody v.
         Transitional Hosps. Corp., 280 F.3d 997, 1006 (9th Cir.
         2002). The Exchange Act does not, however, “create an
         affirmative duty to disclose any and all material
         information.” Glazer II, 63 F.4th at 764 (quoting Matrixx
         Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44 (2011)).
         Disclosure is mandatory only when necessary to ensure that
         a statement made is “not misleading.” Id. (quoting Matrixx
         Initiatives, 563 U.S. at 44). Accordingly, if the market has
         already “become aware of the allegedly concealed
         information,” the allegedly false information or material
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         omission “‘would already be reflected in the stock’s price’
         and the market ‘will not be misled.’” Provenz v. Miller, 102
         F.3d 1478, 1492 (9th Cir. 1996) (quoting In re Convergent
         Techs. Sec. Litig., 948 F.2d 507, 513 (9th Cir. 1991)).
             Our recent decision in In re Alphabet is instructive. We
         held that falsity allegations were sufficient to survive a
         motion to dismiss when the complaint plausibly alleged that
         a company’s SEC filings warned that risks “could” occur
         when, in fact, those risks had already materialized. In re
         Alphabet, 1 F.4th at 702–05. This juxtaposition of a “could
         occur” situation with the fact that the risk had materialized
         mirrors the allegations in the Facebook scenario. In its 2017
         Form 10-K, Alphabet warned of the risk that public concerns
         about its privacy and security practices “could” harm its
         reputation and operating results. Id. at 694. The following
         year, Alphabet discovered a privacy bug that had threatened
         thousands of users’ personal data for three years. Id. at 695.
         Nonetheless, in its April and July 2018 Form 10-Q filings,
         Alphabet repeated the 2017 statement that public concern
         about its privacy and security “could” cause harm. Id. at
         696. In the 10-Qs, Alphabet also stated that there had “been
         no material changes” to its “risk factors” since the 2017 10-
         K. Id. Although news of the privacy bug had not become
         public at the time of the 10-Qs, we reasoned that the risks of
         harm to Alphabet “ripened into actual harm” when Alphabet
         employees discovered the privacy bug and the “new risk that
         this discovery would become public.” Id. at 703. The
         plaintiffs thus “plausibly allege[d] that Alphabet’s warning
         in each Form 10-Q of risks that ‘could’ or ‘may’ occur [was]
         misleading to a reasonable investor when Alphabet knew
         that those risks had materialized.” Id. at 704.
             As in In re Alphabet, the shareholders here adequately
         pleaded falsity as to the statements in Facebook’s 2016 10-
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         K that represented the risk of third parties improperly
         accessing and using Facebook users’ data as purely
         hypothetical. The shareholders pleaded with particularity
         that Facebook employees flagged Cambridge Analytica in
         September 2015 for potentially violating Facebook’s terms,
         that Kogan taught Facebook in November 2015 about the
         dataset Cambridge Analytica had compiled, and that a
         Facebook executive told Cambridge Analytica in December
         2015 that the firm had violated Facebook’s user data
         policies. The shareholders also alleged that after Facebook
         learned in June 2016 that Cambridge Analytica lied in
         December 2015 about deleting the data derived from
         Facebook “likes,” Cambridge Analytica’s chief executive
         refused to certify that the data had actually been deleted.
         These allegations, if true, more than support the claim that
         Facebook was aware of Cambridge Analytica’s misconduct
         before February 2017, so Facebook’s statements about risk
         management “directly contradict[ed]” what the company
         knew when it filed its 2016 10-K with the SEC. Glazer II,
         63 F.4th at 764.
              Referencing Facebook’s risk statements as including
         damage to its business, reputation, and competitive position,
         the dissent asserts that the risk statements in Facebook’s
         2016 10-K were not false or materially misleading because
         they “do not represent that Facebook was free from
         significant breaches at the time of the filing.” The
         inadequacy of the risk statements, however, is not that
         Facebook did not disclose Cambridge Analytica’s breach of
         its security practices. Instead, the problem is that Facebook
         represented the risk of improper access to or disclosure of
         Facebook user data as purely hypothetical when that exact
         risk had already transpired. A reasonable investor reading
         the 10-K would have understood the risk of a third party
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         accessing and utilizing Facebook user data improperly to be
         merely conjectural.
              The dissent’s suggestion that the shareholders have not
         adequately pleaded falsity because they “have not
         sufficiently alleged that Facebook knew that its reputation
         and business were already harmed at the time of the filing of
         the 10-K” fares no better. Our case law does not require
         harm to have materialized for a statement to be materially
         misleading. Facebook’s statement was plausibly materially
         misleading even if Facebook did not yet know the extent of
         the reputational harm it would suffer as a result of the breach:
         Because Facebook presented the prospect of a breach as
         purely hypothetical when it had already occurred, such a
         statement could be misleading even if the magnitude of the
         ensuing harm was still unknown. Put differently, a company
         may make a materially misleading statement when it “speaks
         entirely of as-yet-unrealized risks” when the risks have
         “already come to fruition.” Berson v. Applied Signal Tech.,
         527 F.3d 982, 987 (9th Cir. 2008); see also In re Alphabet,
         1 F.4th at 702–05 (holding that risk statements in Alphabet’s
         SEC filings were materially misleading even where
         Alphabet’s identified harm of damage to its “business,
         financial condition, results of operations,” and more had not
         yet materialized at the time of the filings). The mere fact that
         Facebook did not know whether its reputation was already
         harmed when filing the 10-K does not avoid the reality that
         it “create[d] an impression of a state of affairs that differ[ed]
         in a material way from the one that actually exist[ed].”
         Brody, 280 F.3d at 1006.
            The dissent endeavors to distinguish In re Alphabet by
         explaining that before Alphabet made SEC filings
         containing material misstatements, it circulated an internal
         memorandum detailing that there would be immediate
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         regulatory scrutiny if the public discovered its privacy bug.
         While true, our holding did not rest on the internal
         memorandum to conclude that the statements were plausibly
         materially misleading; instead, we reasoned that a warning
         of “risks that ‘could’ or ‘may’ occur is misleading to a
         reasonable investor when Alphabet knew that those risks”—
         the privacy bug itself—“had materialized.” 1 F.4th at 704.
         Here, as in In re Alphabet, it is the fact of the breach itself,
         rather than the anticipation of reputational or financial harm,
         that caused anticipatory statements to be materially
         misleading. The shareholders have therefore adequately
         pleaded that the risk statements in Facebook’s 2016 10-K
         directly contradicted what Facebook knew at the time such
         that, in the dissent’s words, Facebook “knew a risk had come
         to fruition” and “chose to bury it.”
             Notably, although the dissent seemingly perceives it
         otherwise, the extent of Cambridge Analytica’s misconduct
         was not yet public when Facebook filed its 2016 10-K. At
         the time, the articles in The Guardian and The Washington
         Post had alerted readers that Cambridge Analytica collected
         data from “a massive pool of mainly unwitting US Facebook
         users.” But the Guardian article quoted a Facebook
         spokesperson saying that the company would take “swift
         action” if Cambridge Analytica was found to have violated
         Facebook’s policies, as well as a Ted Cruz spokesperson
         saying that the data was acquired legally and with the
         permission of Facebook users. In response to the article,
         Facebook stated it was “carefully investigating.” Although
         the articles may have raised concerns about Cambridge
         Analytica’s conduct, Facebook did not confirm before the
         2016 10-K was filed that Cambridge Analytica had acted
         improperly or whether Facebook had taken the “swift
         action” promised if it learned of violations.
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             Indeed, Facebook’s first public statement about the
         results of its investigation—which came in March 2017, a
         month after the 2016 10-K was filed—represented that no
         misconduct had been discovered. At the time the 10-K was
         filed in February 2017, the news of Cambridge Analytica’s
         misconduct was far from “transmitted to the public with a
         degree of intensity and credibility sufficient to effectively
         counterbalance any misleading impression.” Provenz, 102
         F.3d at 1493 (citation omitted).
             Importantly, and contrary to the dissent’s position, the
         placement of the risk statements in Facebook’s 2016 10-K
         alongside the possibilities of cyberattacks, hacking, and
         phishing, which the shareholders do not allege had
         materialized at the time of the 10-K, does not rescue
         Facebook’s omission that the risk of improper access and
         disclosure had occurred from being materially misleading.
         A close read of the 10-K reveals that the stated hypothetical
         risks included the risk of a third-party developer harvesting
         Facebook users’ data without their consent. Indeed, the title
         of the 10-K subsection in which the risk statements appeared
         included the statement that “improper access to or disclosure
         of” Facebook’s “user data” could harm the company’s
         reputation and business. The subsection itself stated that
         “[a]ny failure to prevent or mitigate security breaches and
         improper access to or disclosure of our data or user data
         could result in the loss or misuse of such data.” Kogan and
         Cambridge Analytica’s actions, while not a cyberattack,
         hacking, or phishing, fit the bill of Facebook failing to
         prevent or mitigate improper access to or disclosure of
         Facebook data. The risk of a third-party improperly
         accessing Facebook user data through methods other than
         hacking, phishing, or any other security breach was
         prominent throughout the subsection and covered the
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         claimed misconduct of Cambridge Analytica. Collapsing
         the risks of improper access to and use of Facebook users’
         data in the same section as the risk of cyberattacks cannot
         rescue the risk statements from being false or materially
         misleading.
             Additionally, Facebook’s disclosure that “computer
         malware, viruses, social engineering (predominantly spear
         phishing attacks), and general hacking have become more
         prevalent in our industry, have occurred on our systems in
         the past, and will occur on our systems in the future” does
         not bring the risk statements within the protection of the
         PSLRA’s safe harbor provision for forward-looking
         statements. Under the safe harbor, a company is not liable
         for a forward-looking statement “accompanied by
         meaningful cautionary statements identifying important
         factors that could cause actual results to differ materially
         from those in the forward-looking statement.” Glazer II, 63
         F.4th at 767 (quoting 15 U.S.C. § 78u-5(c)(1)(A)).
              Our recent decision in Weston Family Partnership v.
         Twitter, Inc., 29 F.4th 611 (9th Cir. 2022), provides a good
         illustration of statements falling within the safe harbor
         provision. There, Twitter disclosed its plan to improve the
         “stability, performance, and flexibility,” of its mobile app
         promotion product gradually “over multiple quarters” and
         made clear that the company was “not there yet” in terms of
         its stability goals. Id. at 616. At the time, Twitter knew of a
         software bug affecting its mobile app promotion product but
         did not disclose the bug’s impact. Id. We explained that
         Twitter’s disclosure was both forward-looking and
         accompanied by the type of “meaningful cautionary
         language” necessary to invoke the safe harbor provision
         despite the nondisclosure of the software bug. Id. at 623.
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             Here, rather than making cautionary forward-looking
         statements, Facebook warned that it could not provide
         “absolute security,” that it would continue to be subject to
         cyberattacks, and that third parties with inadequate data
         security practices could compromise users’ data. Such broad
         pronouncements without meaningful acknowledgement of
         the known risks of improper data access and disclosure does
         not suffice to invoke the safe harbor provision. There is a
         big chasm between “absolute security” and sidestepping the
         reality of what Facebook allegedly knew about the
         compromised data.
             At this stage, the shareholders adequately pleaded falsity
         as to the statements warning that misuse of Facebook users’
         data could harm Facebook’s business, reputation, and
         competitive position and the district court erred by
         dismissing the complaint as to those statements. The district
         court, however, correctly dismissed the challenged
         statements regarding the risk of security breaches and the
         risk of the public not perceiving Facebook’s products to be
         “useful, reliable, and trustworthy.” Those statements do not
         relate to the misuse of Facebook user data by Cambridge
         Analytica, and the shareholders do not allege that those risks
         had materialized at the time of the 2016 10-K such that they
         were false or materially misleading. We leave to the district
         court on remand whether the shareholders can satisfy the
         other elements of the claims with respect to risk statements.
            B. Cambridge Analytica Investigation Statements
             The challenged Cambridge Analytica investigation
         statements include statements made by a Facebook
         spokesperson to journalists in March 2017 that Facebook’s
         internal investigation into Cambridge Analytica had “not
         uncovered anything that suggest[ed] wrongdoing” related to
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         Cambridge Analytica’s work on the Brexit and Trump
         campaigns. The district court held that the shareholders
         failed to plead scienter as to the Cambridge Analytica
         investigation statements. We agree.
             To plead scienter, the shareholders “must ‘state with
         particularity facts giving rise to a strong inference that the
         defendant acted with the required state of mind.’” Glazer II,
         63 F.4th at 766 (quoting 15 U.S.C. § 78u-4(b)(2)(A)). “A
         ‘strong inference’ exists ‘if a reasonable person would deem
         the inference of scienter cogent and at least as compelling as
         any opposing inference one could draw from the facts
         alleged.’” Id. (quoting Tellabs, Inc. v. Makor Issues & Rts.,
         Ltd., 551 U.S. 308, 324 (2007)). For obvious reasons, an
         actionably misleading statement must be made by a
         spokesperson “who has actual or apparent authority.” In re
         ChinaCast Educ. Corp. Sec. Litig., 809 F.3d 471, 476 (9th
         Cir. 2015) (quoting Hollinger v. Titan Cap. Corp., 914 F.2d
         1564, 1577 n.28 (9th Cir. 1990)). Thus, “a key inquiry” in
         evaluating a motion to dismiss “is whether the complaint
         sufficiently alleges scienter attributable to the corporation.”
         Id. at 479.
             Of first order is identifying “whether the complaint
         adequately alleged that the maker omitted material
         information knowingly, intentionally, or with deliberate
         recklessness.” In re Alphabet, 1 F.4th at 705. “Deliberate
         recklessness is a higher standard than mere recklessness and
         requires more than a motive to commit fraud.” Glazer II, 63
         F.4th at 765 (quoting Schueneman v. Arena Pharms., Inc.,
         840 F.3d 698, 705 (9th Cir. 2016)). Instead, “deliberate
         recklessness” involves “an extreme departure from the
         standards of ordinary care” that presents “a danger of
         misleading buyers or sellers” that “is so obvious” that the
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         spokesperson “must have been aware of it.” Id. (quoting
         Schueneman, 840 F.3d at 705).
             Simply raising an inference that a company’s executive
         “should have” discovered misconduct, not that the executive
         actually knew of misconduct, is insufficient “to meet the
         stringent scienter pleading requirements of the PSLRA.”
         Glazer Cap. Mgmt., LP v. Magistri (Glazer I), 549 F.3d 736,
         748–49 (9th Cir. 2008). In Glazer I, the defendant CEO
         signed a merger agreement before announcing months later
         that an investigation early in the merger-related due
         diligence process uncovered possible Foreign Corrupt
         Practices Act violations. Id. at 740. The plaintiffs argued
         that because the violations were discovered early,
         information about the violations “must have been readily
         available and therefore known to [the CEO] when he signed
         the merger agreement.” Id. at 748. We held that the CEO
         learning of the violations shortly after due diligence was not
         enough “to create a strong inference of scienter.” Id. The
         only strong inference to be drawn was that the CEO should
         have known of the possible violations, not that he actually
         knew about them, which was insufficient to plead scienter.
         Id.
             As in Glazer I, the shareholders pleaded only that the
         Facebook spokesperson should have known that Facebook’s
         investigation into Cambridge Analytica had uncovered
         misconduct, not that the spokesperson actually knew of any
         misconduct or even that there was a strong inference of an
         “intent to deceive, manipulate, or defraud.” Id. at 742
         (quoting Ernst & Ernst v. Hochfelder, 425 U.S. 185, 193
         n.12 (1976)). The mere reference by an unidentified
         spokesperson to Facebook’s investigation is insufficient to
         show that the spokesperson knowingly or intentionally made
         false or materially misleading statements about the
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         investigation. The shareholders’ allegations do not rise to
         the level of showing that it was “so obvious” that Facebook’s
         investigation had uncovered misconduct related to
         Cambridge Analytica’s political work that the spokesperson
         “must have been aware of it.” Glazer II, 63 F.4th at 765
         (citation omitted).
             Although one might reasonably expect the spokesperson
         to have verified the accuracy of the statements before
         making them, securities fraud actions are not tort actions,
         and “[m]ere negligence — even head-scratching mistakes —
         does not amount to fraud.” Prodanova v. H.C. Wainwright
         & Co., 993 F.3d 1097, 1103 (9th Cir. 2021). Nothing in the
         complaint suggests that the Cambridge Analytica
         investigation statements involved an extreme departure from
         the standards of ordinary care, and the shareholders thus fall
         short of raising a strong inference that the spokesperson
         acted with the necessary malintent. In light of the absence
         of scienter, we need not assess the alleged falsity of the
         statements. We affirm the district court’s dismissal of the
         allegations and agree that the shareholders failed to plead
         scienter as to the Cambridge Analytica investigation
         statements.
              C. User Control Statements
             Throughout the class period, Facebook made several
         statements about users’ control over their personal data. The
         statements assured Facebook users that they had control over
         their information and content on Facebook and that
         Facebook’s priorities of transparency and user control
         aligned with the GDPR framework.              The following
         Facebook statements are illustrative: “People can control the
         audience for their posts and the apps that can receive their
         data,” “[e]very person gets to control who gets to see their
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         content,” and “[w]e respected the privacy settings that
         people had in place.” The shareholders assert that
         Facebook’s stock price dropped after reporting on the
         Cambridge Analytica scandal in March 2018 and
         Facebook’s whitelisting policy in June 2018 revealed the
         falsity of Facebook’s statements about users’ control over
         their data. They allege that the stock price drops caused
         them to suffer economic loss.
             Pleading loss causation requires a showing that the
         “share price fell significantly after the truth became known.”
         In re Oracle Corp. Sec. Litig., 627 F.3d 376, 392 (9th Cir.
         2010) (quoting Dura Pharms., Inc. v. Broudo, 544 U.S. 336,
         347 (2005)). “[L]oss causation is simply a variant of
         proximate cause.” Lloyd v. CVB Fin. Corp., 811 F.3d 1200,
         1210 (9th Cir. 2016). The shareholders must show that
         Facebook’s “misstatement, as opposed to some other fact,
         foreseeably caused the plaintiff’s loss.”            Id.   The
         shareholders’ “burden of pleading loss causation is typically
         satisfied by allegations that the defendant revealed the truth
         through ‘corrective disclosures’ which ‘caused the
         company’s stock price to drop and investors to lose money.’”
         Id. at 1209 (quoting Halliburton Co. v. Erica P. John Fund,
         Inc., 573 U.S. 258, 264 (2014)).
             Neither the Federal Rules of Civil Procedure nor the
         federal securities laws “impose any special further
         requirement in respect to the pleading of proximate
         causation or economic loss” beyond the “short and plain
         statement of the claim” required by Rule 8. Dura Pharms.,
         544 U.S. at 346. At the pleading stage, it is generally
         inappropriate to dismiss for failure to establish loss
         causation. In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1057
         (9th Cir. 2008) (agreeing that loss causation “is a matter of
         proof at trial and not to be decided on a Rule 12(b)(6) motion
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         to dismiss” (citation omitted)). Put differently, if a
         complaint proffers sufficient facts “to raise a reasonable
         expectation that discovery will reveal evidence” of loss
         causation, the allegations therein should survive a motion to
         dismiss. Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S.
         544, 556 (2007)).
             As an initial matter, the district court correctly held that
         the shareholders failed to plead sufficiently that Facebook’s
         statements about the company’s commitment to
         transparency and control in line with the GDPR framework
         violated Section 10(b) and Rule 10b-5. As Facebook notes,
         those statements “merely reiterated Facebook’s ongoing
         commitment to ‘transparency and control’” rather than
         assuring users they controlled their Facebook data, and thus
         were not false when they were made. Further, the June 2018
         whitelisting revelation, which was unaccompanied by a
         stock price drop, is not actionable. See Lloyd, 811 F.3d at
         1210. We affirm the dismissal of the statements related to
         Facebook’s goals of transparency and control, and the June
         2018 whitelisting revelation as a standalone claim.
         However, we reverse the dismissal as to other statements
         related to the stock drops.
              1. March 2018 Stock Price Drop
             Most of the challenged user control statements occurred
         after the March 16, 2018, revelation about Cambridge
         Analytica and thus cannot be pegged to the March 2018
         stock price drop. However, the user control statements that
         preceded the revelation are relevant here, and the
         shareholders adequately pleaded loss causation as to the
         statements assuring users that they control their content and
         information on the platform.
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            The shareholders adequately pleaded that the March
         2018 revelation about Cambridge Analytica was the first
         time Facebook investors were alerted that Facebook users
         did not have complete control over their own data. As
         previously discussed, the 2015 and 2016 articles in The
         Guardian and The Washington Post did not reveal that
         Cambridge Analytica had misused Facebook users’ data.
         Facebook’s public response to the Guardian article in 2015
         was that it was “carefully investigating” Cambridge
         Analytica.
             The shareholders also adequately allege that Facebook
         did not make public statements about the Cambridge
         Analytica issue between 2015 and 2018. Before the March
         2018 news broke, reasonable investors would not have
         known that Cambridge Analytica had improperly accessed
         Facebook users’ data such that users did not have control
         over their personal information on the platform. In the week
         that followed the revelation, Facebook’s stock dropped
         nearly 18%, representing a loss of over $100 billion in
         market capitalization and plausibly causing economic loss
         for the shareholders.
             The Cambridge Analytica revelation thus satisfies the
         pleading criteria for a corrective disclosure, which requires
         allegations that “the defendant’s fraud was ‘revealed to the
         market and caused the resulting loss[].’” Grigsby v. BofI
         Holding, Inc., 979 F.3d 1198, 1205 (9th Cir. 2020) (quoting
         Loos v. Immersion Corp., 762 F.3d 880, 887 (9th Cir. 2014)).
         A disclosure is not corrective if the information comes
         entirely from public sources “of which the stock market was
         presumed to be aware.” Id. (quoting Loos, 762 F.3d at 889).
         Here, because the 2015 and 2016 articles about Cambridge
         Analytica did not provide investors the necessary
         information to learn that Facebook users did not control their
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         data, the shareholders adequately alleged that the March
         2018 revelation was a corrective disclosure as to Facebook’s
         statements that users control their data on the platform. We
         reverse the district court’s dismissal of Facebook’s
         statements about users controlling their own Facebook data
         that preceded the March 16, 2018, revelation.
              2. July 2018 Stock Price Drop
             The July 2018 drop occurred immediately after
         Facebook’s disappointing earnings report and was tied to
         approximately $100 billion of shareholder value loss. At the
         time, it was the largest single-day stock price drop in U.S.
         history. The question is whether the shareholders adequately
         pleaded loss causation as to Facebook’s user control
         statements predating the March 16, 2018, Cambridge
         Analytica revelation and the June 3, 2018, whitelisting
         revelation, even though the stock drop did not occur until
         July 25, 2018.
             Because loss causation requires that the defendant’s
         misstatement, rather than some other fact, foreseeably
         caused the plaintiff’s loss, establishing loss causation
         requires more than “an earnings miss” or the market’s
         reaction to a company’s “poor financial health generally.”
         In re Oracle, 627 F.3d at 392. Simply pleading “that the
         market reacted to the purported ‘impact’ of the alleged
         fraud—the earnings miss—rather than to the fraudulent acts
         themselves” is not sufficient. Id.
             Illustrative of a disconnect between earnings and
         causation is In re Oracle, where the shareholders argued that
         Oracle’s misstatements regarding the “quality and success”
         of its Suite 11i product, rather than its struggling financial
         health, caused the company’s stock price to drop. Id. at 392–
         93. The shareholders posited that because the stock price
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         drop occurred immediately after the truth about Suite 11i
         became public, the revelation of the truth must have caused
         the price drop. Id. In affirming summary judgment for
         Oracle, we explained that the “overwhelming evidence
         produced during discovery indicate[d] the market
         understood Oracle’s earnings miss to be a result of several
         deals lost in the final weeks of the quarter due to customer
         concern over the declining economy,” not the alleged Suite
         11i fraud. Id. at 393.
             Another wrinkle here is whether loss causation
         allegations can survive a motion to dismiss even when the
         stock price drop did not immediately follow the revelation
         of the misstatement. In In re Gilead, the market learned in
         August 2003 that Gilead had aggressively marketed a drug
         by claiming that the company had “carefully complied with
         federal and state regulations” when, in fact, a warning letter
         from the Food and Drug Administration had informed
         Gilead that its marketing claims were unlawful. 536 F.3d at
         1051. Gilead’s stock price did not drop until October 2003,
         following a press release revealing “less-than-expected
         revenues.” Id. at 1054, 1058. Despite the time gap between
         the revelation and the stock price drop, the shareholders
         claimed that Gilead’s misrepresentations caused its stock
         price to inflate, and the subsequent disappointing revenue
         performance and stock price drop sufficed to plead loss
         causation. Id. at 1056.
             Acknowledging the time gap, we held that the
         shareholders adequately pleaded loss causation and
         reiterated that there is no “bright-line rule requiring an
         immediate market reaction” after a revelation because “[t]he
         market is subject to distortions that prevent the ideal of a free
         and open public market from occurring.” Id. at 1057–58
         (alteration in original) (citation omitted). Accordingly, the
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         shareholders plausibly alleged that Gilead’s stock price drop
         occurred immediately after the company revealed its
         disappointing revenue numbers, and the drop was caused by
         lower demand resulting from the warning letters. Id. As we
         explained, it was reasonable for the public to fail to
         appreciate the significance of the warning letters until
         learning of Gilead’s disappointing revenue posting. Id.
         Aligning ourselves with the Second and Third Circuits, we
         concluded that “loss causation ‘is a matter of proof at trial’”
         so “it is normally inappropriate to rule on loss causation at
         the pleading stage.” Id. at 1057 (quoting Emergent Cap. Inv.
         Mgmt., LLC v. Stonepath Grp., Inc., 343 F.3d 189, 197 (2d
         Cir. 2003)); see also McCabe v. Ernst & Young, LLP, 494
         F.3d 418, 427 n.4 (3d Cir. 2007). Because the shareholders
         pleaded sufficient facts to raise a reasonable expectation that
         discovery would reveal evidence of the warning letter’s
         “effect on demand,” the loss causation claim survived
         Gilead’s motion to dismiss. In re Gilead, 536 F.3d at 1058.
             For Facebook’s July 2018 stock price drop to be
         actionable, it must be because Facebook’s earnings report
         revealed new information to the market; specifically, that
         Facebook’s Q2 earnings call in July 2018 allowed the public
         to “appreciate [the] significance” of the Cambridge
         Analytica and whitelisting scandals. Id. The disappointing
         Q2 earnings performance alone cannot satisfy the
         shareholders’ burden of pleading loss causation.
             Here, as in In re Gilead, the shareholders adequately
         pleaded that the Cambridge Analytica and whitelisting
         revelations, not any other factor, caused the July 2018 stock
         price drop. Although the stock drop occurred nearly two
         months after the whitelisting revelation, the shareholders
         sufficiently allege that the drop was caused by “dramatically
         lowered user engagement, substantially decreased
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         advertising revenue and earnings, and reduced growth
         expectations going forward” on account of the Cambridge
         Analytica and whitelisting scandals. The shareholders
         further detail how the GDPR rollout had little impact on the
         July 2018 earnings report, and how investors and market
         analysts explicitly connected the revenue drop to the
         scandals. These allegations suffice to plead “a causal
         relationship” between the Cambridge Analytica and
         whitelisting revelations and the dramatic drop in Facebook’s
         stock price. Id. at 1057. We emphasize that this case is at
         the very early motion to dismiss stage, that the shareholders
         have raised “a reasonable expectation that discovery will
         reveal evidence” of loss causation, id. (quoting Twombly,
         550 U.S. at 556), and that discovery and further proceedings
         are necessary to illuminate the issues surrounding loss
         causation.
             Our dissenting colleague would affirm the district
         court’s dismissal of the user control statements as they relate
         to the Cambridge Analytica revelation. Stated differently,
         the dissent would hold that only the July 2018 stock price
         drop was actionable, and only as to the whitelisting
         revelation, not the Cambridge Analytica revelation.
             In support, the dissent contends that the 2018
         “Cambridge Analytica disclosures did not make the user
         control statements materially false,” because “Cambridge
         Analytica’s lies to Facebook and its continued violation of
         Facebook’s privacy policies do not mean that Facebook’s
         privacy protections do not actually exist.” But the question
         is not whether and when Cambridge Analytica lied to
         Facebook, but whether and when Facebook learned of
         Cambridge Analytica’s deception. It is true that in January
         2016, Cambridge Analytica agreed to delete the personality
         score data it harvested from Facebook. But recall that the
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         shareholders pleaded that Facebook had reason to know in
         June 2016—only five months later—that Cambridge
         Analytica had received much more information from
         Facebook than just the personality score data and that
         Cambridge Analytica was still using a model based on the
         data in violation of Facebook’s policies. The shareholders
         further allege that when Facebook found out, it tried to
         require Cambridge Analytica’s CEO to certify that all data
         harvested from the personality quiz was deleted, but the
         CEO refused to do so. Thus, the shareholders pleaded with
         particularity that Facebook knew Cambridge Analytica did
         not delete all the data it had improperly accessed.
             We agree with the dissent that “a supposed bad actor
         violating Facebook’s privacy controls to improperly access
         user data doesn’t make the company’s statements about its
         policies misleading.” But labeling Cambridge Analytica as
         a “bad actor” is not the issue. It was not Cambridge
         Analytica’s deception that made Facebook’s user control
         statements misleading. Rather, it was that Facebook knew
         Cambridge Analytica retained access to improperly
         collected user data after Cambridge Analytica certified that
         it had deleted the personality score data, and Facebook
         nonetheless falsely represented to users that they had control
         over their data on the platform. The shareholders adequately
         pleaded loss causation as to the stock price drops that
         occurred after the Cambridge Analytica revelation in March
         and July 2018. Accordingly, we reverse the district court’s
         dismissal of Facebook’s statements regarding data control
         that predated the June 3, 2018, whitelisting revelation.
                              III. CONCLUSION
            We affirm in part and reverse in part as to dismissal
         based on the risk statements and user control statements, and
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         we affirm as to dismissal based on the Cambridge Analytica
         investigation statements. Specifically, we affirm the
         dismissal of the statements in ¶¶ 503–05, 530, 533, and 537–
         38 of the Third Amended Complaint, reverse the district
         court’s dismissal of the statements in ¶¶ 501–02, 507–14,
         519, and 525, and remand for further proceedings. Each
         party shall bear its own costs.
           AFFIRMED IN PART, REVERSED IN PART, AND
         REMANDED IN PART.



         BUMATAY, J., concurring in part and dissenting in part:

             At issue here are three general categories of alleged false
         statements: (1) statements about Facebook’s risk factors, (2)
         statements about Facebook’s investigation of Cambridge
         Analytica, and (3) statements about Facebook users’ control
         over their data. I join the majority in holding that the
         plaintiff Shareholders failed to sufficiently allege a falsity in
         the second category—Facebook’s Cambridge Analytica
         investigation statements. I also join the majority in holding
         that Shareholders did allege a falsity and loss from the third
         category of user control statements—but only as those
         statements relate to Facebook’s practice of “whitelisting.”
             So I disagree with the majority on two fundamental
         points. First, Shareholders failed to sufficiently allege that
         Facebook’s risk factor statements in its public filings were
         fraudulent.     Second, Shareholders didn’t show that
         Facebook’s user control statements were false based on the
         Cambridge Analytica revelations. I briefly set out my
         disagreement below.
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                                       I.
                           Risk Factor Statements
             Federal securities law creates no “affirmative duty to
         disclose any and all material information.” Matrixx
         Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44 (2011).
         Rather, companies must disclose information “only when
         necessary ‘to make . . . statements made, in light of the
         circumstances under which they were made, not
         misleading.’” Id. (quoting 17 CFR § 240.10b–5(b)). Thus,
         companies “can control what they have to disclose . . . by
         controlling what they say to the market.” Id. at 45.
              Indeed, companies have no “obligation to offer an
         instantaneous update of every internal” or “fleeting”
         development. Weston Fam. P’ship LLLP v. Twitter, Inc., 29
         F.4th 611, 620 (9th Cir. 2022). Instead, a “company must
         disclose a negative internal development only if its omission
         would make other statements materially misleading.” Id.
         Put differently, statements and omissions are actionable only
         if they “directly contradict what the defendant knew at that
         time,” Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988,
         1008 (9th Cir. 2018), or “create an impression of a state of
         affairs that differs in a material way from the one that
         actually exists,” Brody v. Transitional Hosps. Corp., 280
         F.3d 997, 1006 (9th Cir. 2002). In assessing this question,
         we look to the “total mix” of information available to the
         reasonable investor and whether the alleged misstatement
         “significantly altered” the decision-making of the reasonable
         investor. Retail Wholesale & Dep’t Store Union Loc. 338
         Ret. Fund v. Hewlett-Packard Co., 845 F.3d 1268, 1274 (9th
         Cir. 2017) (simplified); see also In re Syntex Corp. Sec.
         Litig., 95 F.3d 922, 929 (9th Cir. 1996) (requiring evaluation
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         of the “statement in full and in context at the time it was
         made”).
             Shareholders’ allegations stem from Facebook’s 2016
         SEC Form 10-K “Risk Factors” statements, dated February
         3, 2017. Facebook made these statements in the context of
         the following bolded headline:

                •   “Security breaches and improper
                    access to or disclosure of our data or
                    user data, or other hacking and
                    phishing attacks on our systems, could
                    harm our reputation and adversely
                    affect our business.”

         Under that header, Facebook gave these warnings:

                •   “Any failure to prevent or mitigate
                    security breaches and improper access to
                    or disclosure of our data or user data
                    could result in the loss or misuse of such
                    data, which could harm our business and
                    reputation and diminish our competitive
                    position.”
                •   “We provide limited information to . . .
                    third parties based on the scope of
                    services provided to us. However, if these
                    third parties or developers fail to adopt or
                    adhere to adequate data security
                    practices . . . our data or our users’ data
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                    may be improperly accessed, used, or
                    disclosed.”

             Shareholders argue—and the majority agrees—that all
         three of these statements are misleading because, by
         February 2017, Facebook already knew that Cambridge
         Analytica had gained improper access to the data of tens of
         millions of Facebook users. According to the majority, this
         means that the statements directly contradicted what the
         company knew when it filed its 10-K.
             There’s a problem with this analysis. Even if Facebook
         knew about the full extent of the so-called Cambridge
         Analytica scandal at this point, none of this makes the risk
         factor statements false. Recall the facts of the scandal. In
         2015, Facebook became aware that Cambridge Analytica—
         through a consulting academic—had developed a
         personality quiz that harvested data from more than thirty
         million Facebook users, often without the users’ consent.
         This quiz gave Cambridge Analytica access to Facebook
         users’ name, gender, location, birthdate, “likes,” and
         “friends,” which made it possible to develop an algorithm to
         sort Facebook users according to personality traits.
         Cambridge Analytica then allegedly used that algorithm to
         help political campaigns.
             Regardless of the severity of Cambridge Analytica’s
         alleged misconduct, a careful reading of the 10-K statements
         shows that these risk factor statements warn about harm to
         Facebook’s “business” and “reputation” that “could”
         materialize based on improper access to Facebook users’
         data—not about the occurrence or non-occurrence of data
         breaches. How do we know that? Well, the statements say
         so. The first and second statements expressly advise that
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         improper breaches “could harm” Facebook’s “business” and
         “reputation.”
             And although the third statement does not expressly
         mention business and reputational harm, we know that is its
         focus for two reasons. First, Facebook reported the
         statement under the bolded section about breaches and
         improper actions “could harm [Facebook’s] reputation
         and adversely affect our business.” Second, the very next
         sentence places that statement into more context: “Affected
         users or government authorities could initiate legal or
         regulatory actions against us in connection with any security
         breaches or improper disclosure of data, which could cause
         us to incur significant expense and liability or result in orders
         or consent decrees forcing us to modify our business
         practices.”
              Taken together, Facebook’s risk factor statements warn
         about harm to its “reputation” and “business” that may come
         to light if the public or the government learns about improper
         access to its data. These statements do not represent that
         Facebook was free from significant breaches at the time of
         the filing. And if a reasonable investor thought so based on
         Facebook’s 10-K statements, that “reasonable” investor
         wasn’t acting so reasonably. Indeed, within the same
         section, Facebook warned that “computer malware, viruses,
         social engineering (predominantly spear phishing attacks),
         and general hacking have become more prevalent in our
         industry, have occurred on our systems in the past, and will
         occur on our systems in the future.” Facebook expressly
         advised that it experienced previous attempts to swipe its
         data and that it would continue to face such threats. Beyond
         Facebook’s own statements, much about the Cambridge
         Analytica scandal was already public. In a December 2015
         article, The Guardian reported that Cambridge Analytica
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         had harvested data from “tens of millions” of Facebook users
         “without their permission.” 1 These are the same facts
         Shareholders use to claim Facebook deceived the public with
         more than two years later.
             So, on their face, none of the 10-K risk factor statements
         are false or misleading. The statements advise that improper
         access to data could harm Facebook’s reputation and
         business. And Shareholders have not sufficiently alleged
         that Facebook knew its reputation and business were already
         harmed at the time of the filing of the 10-K. Nor do they
         allege that Facebook was aware of government entities or
         users launching regulatory or legal actions based on the
         Cambridge Analytica scandal in February 2017.
             While acknowledging these shortcomings in the
         Shareholders’ complaint, the majority takes the surprisingly
         broad view that it’s irrelevant that “Facebook did not know
         whether its reputation was . . . harmed” at the time of the 10-
         K filing. Maj. Op. 25. The majority instead asserts that it’s
         enough that a breach had occurred, never mind whether the
         breach led to a discernible effect on Facebook’s reputation
         or business at the time. Id. The majority goes so far as to
         say that a fraud occurs even if the harm caused by the breach
         was completely “unknown” to Facebook. Id. But if it was
         “unknown” whether the breach led to reputational or
         business harm, it’s hard to see how the risk factor statements
         were untrue. Stating that harm could result from a breach is
         not falsified by some “unknown” possibility of harm from a
         breach. In other words, Facebook’s risk factor statements

         1
           See Harry Davies, Ted Cruz Using Firm that Harvested Data on
         Millions of Unwitting Facebook Users, The Guardian (Dec. 11, 2015),
         https://www.theguardian.com/us-news/2015/dec/11/senator-ted-cruz-
         president-campaign-facebook-user-data.
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         could not “directly contradict what the defendant knew at
         that time” if any harm was unknown to Facebook at the time.
         Khoja, 899 F.3d at 1008. 2
             And In re Alphabet, Inc. Securities Litigation, 1 F.4th
         687 (9th Cir. 2021), doesn’t transform every risk statement
         into a false or misleading statement if a risk later comes to
         fruition. Nor does it create a new requirement that a
         company disclose every bad thing that ever happened to it.
         In that case, Alphabet stated in two quarterly disclosure
         forms that certain risks “could adversely affect our business,
         financial condition, [and] results of operations,” but that
         “[t]here have been no material changes to our risk factors
         since our [last] Annual Report on Form 10-K.” 1 F.4th at
         696 (simplified). What Alphabet didn’t disclose is that,
         before the reports came out, its internal Google investigators
         had discovered a software glitch in one of its programs that
         allowed third parties to collect users’ private data. Id. at 695.
         Google’s legal and policy staff quickly recognized the
         problem and warned in an internal memorandum that these
         security issues would likely trigger an immediate regulatory
         response and cause its senior executives to testify before
         Congress. Id. at 696. When news inevitably broke six

         2
            Given the majority’s analysis of these statements, it’s difficult to see
         how Shareholders can ever satisfy the scienter requirement. Indeed, “[a]
         complaint will survive . . . only if a reasonable person would deem the
         inference of scienter cogent and at least as compelling as any opposing
         inference one could draw from the facts alleged.” Tellabs, Inc. v. Makor
         Issues & Rights, Ltd., 551 U.S. 308, 324 (2007). Such a strong inference
         requires an “intent to deceive, manipulate, or defraud,” or “deliberate
         recklessness”—which is “an extreme departure from the standards of
         ordinary care.” Schueneman v. Arena Pharmaceuticals, Inc., 840 F.3d
         698, 705 (9th Cir. 2016). If the harm from Cambridge Analytica’s
         breach was unknown at the time of the filing of the 10-K, it’s doubtful
         this standard can be met.
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         months later, Alphabet’s shares plummeted in value and,
         sure enough, there were calls for government investigation.
         Id. at 697. We concluded that “[r]isk disclosures that speak
         entirely of as-yet-unrealized risks and contingencies and do
         not alert the reader that some of these risks may already have
         come to fruition can mislead reasonable investors.” Id. at
         703 (simplified). In Alphabet’s case, the “warning in each
         [quarterly report] of risks that ‘could’ or ‘may’ occur [was]
         misleading to a reasonable investor [because] Alphabet
         knew that those risks had materialized.” Id. at 704.
             Contrary to the majority’s assertion, this case is nothing
         like Alphabet. In Alphabet, the company knew a risk had
         come to fruition—set out as clear as day in an internal
         company memo—that a data bug would cause it greater
         regulatory scrutiny. Id. at 696. Rather than disclose its
         assessment, Alphabet chose to bury it and even stated that
         no material changes existed in its risk factors. Id. at 696–97,
         703. Here, Facebook might have known of breaches of its
         data—even potentially serious breaches—when it gave its
         risk statements, but Shareholders don’t allege that Facebook
         knew that those breaches would lead to immediate harm to
         its business or reputation. As the majority concedes, the
         harm from Cambridge Analytica’s breach of Facebook’s
         policies was “unknown” at the time of the 10-K filing. See
         Maj. Op. 25. Nor did Facebook lull investors into
         complacency by suggesting that nothing had changed on its
         risks front. These facts make all the difference here. Cf.
         Weston, 29 F.4th at 621 (dismissing fraud claims alleging
         that Twitter’s risk warning statement—that its “product and
         services may contain undetected software errors, which
         could harm our business and operating results”—was
         misleading because the risk had materialized by then).
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             Because Facebook did not present false or misleading
         risk statements, and Alphabet did not modify a common-
         sense understanding of truthfulness and disclosure, we
         should have affirmed the dismissal of this claim.
                                      II.
                         User Control Statements
             The next category of alleged falsehoods concerns
         Facebook’s representations that users control their data and
         information. During the relevant period for this lawsuit,
         Facebook and its executives made various statements
         emphasizing users’ control over the data they shared with
         Facebook, such as—

                •   “You own all of the content and
                    information you post on Facebook, and
                    you can control how it is shared through
                    your privacy and application settings.”
                    Facebook’s Statement of Rights and
                    Responsibilities web page, ~ January 30,
                    2015 to May 25, 2018.
                •   “[W]hen you share on Facebook you
                    need to know . . . . No one is going to get
                    your data that shouldn’t have it. That
                    we’re not going to make money in ways
                    that you would feel uncomfortable with
                    off your data. And that you’re controlling
                    who you share with . . . . Privacy for us is
                    making sure that you feel secure, sharing
                    on Facebook.” Sheryl Sandberg, Axios
                    interview, October 12, 2017.
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                •   “Our apps have long been focused on
                    giving people transparency and control . .
                    . .” Sheryl Sandberg, Facebook Gather
                    Conference, January 23, 2018.

                                       A.
             Shareholders have adequately shown that these
         statements were misleading based on the allegation that
         Facebook “whitelisted” third parties. According to the
         Shareholders, at the same time these statements were made,
         Facebook continued to allow certain “whitelisted” third
         parties, mostly app developers and device manufacturers, to
         continue to access data against a user’s wishes. Shareholders
         allege that Facebook overrode user privacy settings to allow
         these third parties access to the data of, not only the
         Facebook user, but that of the user’s friends as well. In fact,
         Facebook paid the Federal Trade Commission $5 billion to
         settle charges stemming from the “whitelisting” allegations.
             These facts are enough to plead that the statements were
         false—the only question is whether the statements caused
         Shareholders any loss. See Grigsby v. BofI Holding, Inc.,
         979 F.3d 1198, 1204 (9th Cir. 2020) (explaining that
         “investors must demonstrate that the defendant’s deceptive
         conduct caused their claimed economic loss”) (simplified).
         Facebook’s “whitelisting” program became public on June
         3, 2018, when the New York Times reported that Facebook
         shared users’ and their friends’ data with multiple
         “whitelisted” companies. When it comes to false statements,
         a plaintiff can usually show loss causation by pointing to an
         immediate stock drop after the falsity was uncovered. Id. at
         1205 (“A plaintiff can satisfy the loss-causation pleading
         burden by alleging that a corrective disclosure revealed the
         truth of a defendant’s misrepresentation and thereby caused
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         the company’s stock price to drop and investors to lose
         money.”) (simplified). The wrinkle here is that Facebook’s
         stock didn’t drop immediately after the whitelisting became
         public. It wasn’t until several weeks later—July 26, 2018,
         the day after Facebook announced slower growth than
         expected—that Facebook’s stock dropped by almost 19%.
         Facebook contends that this temporal gap proves that its
         misleading user control statements didn’t cause
         Shareholders any loss.
             But sometimes it takes time for the full scope of a loss
         from a misrepresentation to materialize. As In re Gilead
         Sciences Securities Litigation, 536 F.3d 1049, 1058 (9th Cir.
         2008) recognized, a “limited temporal gap between the time
         a misrepresentation is publicly revealed and the subsequent
         decline in stock value does not render a plaintiff’s theory of
         loss causation per se implausible.” Indeed, in that case, three
         months had passed between the disclosure of Gilead’s
         alleged deceptive marketing practices and the stock drop
         after Gilead missed revenue targets. Id. at 1057–58. Despite
         this gap, we concluded the plaintiffs had plausibly alleged
         that the less-than-expected revenue was caused by lower
         end-user demand, which, in turn, was caused by disclosing
         the company’s deceptive marketing. Id. at 1058. Thus, an
         “immediate market reaction” is not necessary when the
         market might “fail[] to appreciate [the] significance” of a
         disclosure right away. Id. at 1057–58.
             So, we shouldn’t be too quick to dismiss a claim based
         on a delay in the manifestation of loss. In my view, it’s
         plausible that the whitelisting revelation made on June 18
         caused user engagement and advertising revenue to
         diminish, which contributed to the lower earnings
         announced on July 25 and the immediate stock drop.
         Facebook counters that the European Union’s new privacy
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         regulations—not the whitelisting revelation—caused the
         lower July 25 earnings. That might be right. But, at the very
         least, Shareholders deserve some discovery to prove their
         theory of loss causation.
                                      B.
             But the analysis of the user control statement must be
         different when it comes to the Cambridge Analytica scandal.
         Shareholders allege—and the majority agrees—that new
         revelations about Cambridge Analytica from March 2018
         also proved Facebook’s user control statements were false.
         As a reminder, in late 2015, Facebook discovered that
         Cambridge Analytica obtained personality score data
         harvested from Facebook data and demanded that
         Cambridge Analytica delete all such data. In response,
         Cambridge Analytica certified to Facebook that it would
         delete the data. On March 16, 2018, Facebook announced
         that it had received reports from the media that Cambridge
         Analytica did not destroy the data and that it was suspending
         Cambridge Analytica from the platform. News reports then
         confirmed that Cambridge Analytica continued to possess
         and use harvested data from Facebook. Within a week of
         these disclosures, Facebook’s shares dropped nearly 18%.
         Shareholders contend that these revelations prove the falsity
         of Facebook’s user control statements.
             These Cambridge Analytica disclosures did not make the
         user control statements materially false. To prevail,
         Shareholders must show that the Facebook user control
         statements “affirmatively create[d] an impression of a state
         of affairs that differ[ed] in a material way from the one that
         actually exist[ed.]” Brody, 280 F.3d at 1006. But
         Cambridge Analytica’s lies to Facebook and its continued
         violation of Facebook’s privacy policies do not mean that
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         Facebook’s privacy protections do not actually exist. Aside
         from the whitelisting issue described above, Facebook
         seemingly described its privacy policies accurately.
         Cambridge Analytica’s violation of those policies doesn’t
         falsify them.
             Imagine a bank. Say that the bank announces a range of
         security measures to protect its customers’ money. Then
         consider if a bank robber defeats those measures, breaks in,
         and ultimately steals a bag of cash. Would anyone say that
         the bank lied about its security measures? Clearly, no. Here,
         a supposed bad actor violating Facebook’s privacy controls
         to improperly access user data doesn’t make the company’s
         statements about its policies misleading.
             What makes our ruling all the more odd is that much of
         the Cambridge Analytica scandal was already public by the
         time of the user control statements. The first article about it
         dropped in 2015.       So it’s hard to see how this new
         “revelation” added to the “total mix” of information
         available to Shareholders or “significantly altered” their
         decision-making. See Retail Wholesale & Dep’t Store
         Union Loc. 338 Ret. Fund, 845 F.3d at 1274. We thus should
         have limited Facebook’s liability for the user control
         statements to the “whitelisting” allegations.
                                      III.
            For these reasons, I respectfully dissent from Part II.A of
         the majority opinion, from Part II.C as it relates to
         Cambridge Analytica, and from Part III.
